      Case 3:25-cv-03292-SI       Document 7-9         Filed 04/15/25   Page 1 of 5




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 9                               UNITED STATES DISTRICT COURT
10                           NORTHERN DISTRICT OF CALIFORNIA
11

12   ZHUOER CHEN, an individual; MENGCHENG                Case No. 3:25-cv-03292
     YU, an individual; JIARONG OUYANG, an
13   individual; and GEXI GUO, an individual;
                                                          DECLARATION OF JING FENG,
14                 Plaintiffs,                            ESQ. AND BECKY FU VON
                                                          TRAPP ESQ. IN SUPPORT OF
15                                                        PLAINTIFFS’  MOTION   FOR
     vs.
                                                          TEMPORARY     RESTRAINING
16                                                        ORDER
     KRISTI NOEM, in her official capacity as
17   Secretary of the U.S. Department of Homeland
     Security; and TODD LYONS, in his official
18   capacity as Acting Director of U.S. Immigration
19   and Customs Enforcement;

20                 Defendants.

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      Case 3:25-cv-03292-SI        Document 7-9        Filed 04/15/25       Page 2 of 5




 1   We, Jing Feng and Becky Fu von Trapp, declare as follows:

 2      1. I, Jing Feng, am an immigration attorney licensed to practice law in New York State

 3          (NY5424047). I am the founding partner of Jing Feng Law Group, a full-service

 4          immigration law firm providing legal counsel to individuals, businesses, educational

 5          institutions, and research organizations. I have practiced immigration law for more than

 6          17 years.

 7      2. I, Becky Fu von Trapp, am an immigration attorney licensed to practice law in New York

 8          State (NY5820055), I am the founding partner of von Trapp Law PLLC, a law firm

 9          providing immigration legal services nationally and internationally. I am the Immigration

10          Co-Chair of the Vermont Bar Association, and I have extensive experience representing

11          higher education institutions, international students, and visiting scholars.

12      3. We have extensive experience representing international students in a range of matters,

13          including maintenance of F-1 status, SEVIS compliance, Optional Practical Training

14          (OPT), reinstatement, and status change in the United States.

15      4. In our professional experience, it is unprecedented for the federal government to revoke

16          F-1 visas and terminate the SEVIS records of hundreds if not thousands of international

17          students without prior notice, individual investigation, or coordination with the

18          Designated School Officials (DSOs) of the academic institutions involved.

19      5. The Student and Exchange Visitor Information System (SEVIS) is a database

20          administered jointly by the Department of Homeland Security (DHS) and U.S.

21          educational institutions. Typically, it is the DSO's responsibility to update, manage, and,

22          when necessary, terminate SEVIS records based on an individual student's full-time

23          enrollment status or violations of F-1 regulations such as a conviction of a serious crime.

24      6. Terminations initiated directly by DHS or U.S. Immigration and Customs

25          Enforcement(ICE), especially on a large scale, are highly unusual and generally reserved

26          for rare national security or fraud-related cases. The 2025 mass SEVIS termination is the

27          first time such a large-scale termination has occurred, while the responsible agency has

28                                                    2-          CASE No. 3:25-cv-03292
                         DECLARATION OF JING FENG AND BECKY FU VON TRAPP
     Case 3:25-cv-03292-SI         Document 7-9       Filed 04/15/25      Page 3 of 5




 1        not published any guidelines, policies, regulations, or data on why and how the

 2        termination is carried out.

 3     7. SEVIS was launched after the 9/11 Attack. In response to 9/11 and the Patriot Act, the

 4        federal government accelerated the implementation of SEVIS. Below is a timeline of key

 5        events:

 6            •     October 26, 2001: Patriot Act mandates SEVIS implementation;
 7            •     May 16, 2002: Proposed rule issued for SEVIS reporting;
 8            •     December 11, 2002: Final rule for F, J, and M visa holders; and
 9            •     January 31, 2003: SEVIS becomes mandatory.
10     8. After the launch in 2003 SEVIS experienced some early technical errors, occasionally

11        causing unintended SEVIS terminations due to data mismatches or reporting lags. These

12        terminations were not intentional and were generally resolved quickly in coordination

13        with Designated School Officials (DSOs).

14     9. Since its launch, we are not aware of any blanket SEVIS termination that affects a large

15        number of students. The only situation that came remotely close was the 2020 SEVIS

16        Policy during the COVID-19 pandemic. In July 2020, ICE announced that international

17        students attending only online classes due to COVID-19 would not be permitted to

18        remain in the U.S. The policy threatened large-scale SEVIS terminations. After multiple

19        lawsuits from institutions like Harvard and MIT, the policy was rescinded. No mass

20        SEVIS cancellations occurred as the federal government withdrew the plan before

21        implementation.

22     10. The 2025 SEVIS termination is a radical departure from precedents and customary

23        practice. In early 2025, reports emerged that DHS had terminated hundreds of SEVIS

24        records for international students, allegedly without individualized notice or clear

25        justification. This action appears to have been initiated directly by the federal

26        government, not by schools or through standard regulatory triggers.

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                                              -3-                 Case No. 3:25-cv-03292
                         DECLARATION OF JING FENG AND BECKY FU VON TRAPP
     Case 3:25-cv-03292-SI          Document 7-9     Filed 04/15/25      Page 4 of 5




 1     11. According to the American Immigration Lawyers Association Policy Brief dated April 8,

 2        2025 (AILA Doc. No. 25040804), “According to NAFSA, the typical notations for

 3        terminations under this current trend include 'serious adverse foreign policy

 4        consequences' and 'otherwise failing to maintain status,' the latter of which could be

 5        further explained in the notation as due to the student being identified in a criminal

 6        records check or because their visa was revoked. ICE taking these steps is highly

 7        unusual, as terminating SEVIS records is usually done by the university under specific

 8        circumstances spelled out in the regulations (such as withdrawing from school), and the

 9        student is expected to depart the U.S. immediately." American Immigration Lawyers

10        Association Policy Brief (AILA Doc. No. 25040804), April 8, 2025,

11        https://www.aila.org/library/policy-brief-immigration-enforcement-actions-against-

12        international-students.

13     12. The Student and Exchange Visitor Information System (SEVIS) is a government-

14        managed system used to monitor F-1, M-1, and J-1 nonimmigrants and their dependents

15        in the U.S. The use of SEVIS is mandatory for all schools that admit F or M students, as

16        outlined in 8 CFR 214.3(g)(2). The U.S. Department of Homeland Security (DHS)

17        requires Designated School Officials (DSOs) to update and maintain each student’s

18        SEVIS record to ensure compliance with immigration regulations.

19     13. Termination of a SEVIS record typically terminates nonimmigrant status in the United

20        States, particularly for F-1 and M-1 students. A terminated SEVIS record means that the
21
          student is no longer in a valid nonimmigrant status, and they should plan to depart the
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          US. According to DHS guidance: “A terminated record in the Student and Exchange
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          Visitor Information System (SEVIS) could indicate that the nonimmigrant no longer
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          maintains F or M status. Designated school officials (DSOs) mostly terminate F-1/M-1
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26        students and/or F-2/M-2 dependents who do not maintain their status.”

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                                            -4-                 Case No. 3:25-cv-03292
                       DECLARATION OF JING FENG AND BECKY FU VON TRAPP
      Case 3:25-cv-03292-SI         Document 7-9        Filed 04/15/25      Page 5 of 5




 1          https://studyinthestates.dhs.gov/sevis-help-hub/student-records/completions-and-

 2          terminations/terminate-a-student
 3
        14. When an F-1/M-1 SEVIS record is terminated, DHS guidance indicates the following
 4
            happens:
 5
                •   Student loses all on- and/or off-campus employment authorization.
 6
                •   The student cannot re-enter the United States on the terminated SEVIS record.
 7
                •   Immigration and Customs Enforcement (ICE) agents may investigate to confirm
 8
                    the departure of the student.
 9
                •   Any associated F-2 or M-2 dependent records are terminated
10
               https://studyinthestates.dhs.gov/sevis-help-hub/student-records/completions-and-
11
     terminations/terminate-a-student
12
        15. Based on our many years of legal practice, including direct involvement with F-1
13
            students, we believe the government’s mass SEVIS terminations in this instance are both
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            procedurally flawed and legally wrong. Such terminations have serious consequences for
15
            students' educational and professional lives, often leading to loss of work authorization,
16
            inability to graduate, ineligibility for reinstatement, and exposure to removal proceedings.
17
        16. Given the large number of affected students across the nation, we submit this declaration
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            in support of the Plaintiffs' motion for a temporary restraining order to underscore the
19
            unprecedented nature of the government's actions and the urgent need for judicial
20
            intervention to restore SEVIS status.
21
            We declare under penalty of perjury under the laws of the United States of America
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     that the foregoing is true and correct, and that this declaration is executed on April 14th, 2025.
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25           Jing Feng, New York City, NY                  Becky Fu von Trapp, Stowe, VT
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                                               -5-                 Case No. 3:25-cv-03292
                          DECLARATION OF JING FENG AND BECKY FU VON TRAPP
